                                      Case 14-14846-RAM                Doc       Filed 04/23/19        Page 1 of 3
  Fill in this information to identify the case:
  Debtor 1              Juana Marquez
  Debtor 2
  (Spouse, if filing)
  United States Bankruptcy Court for the: Southern District of Florida (Miami)
  Case number           14-14846

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                 12/16


If the debtor¶s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you assert
are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

 Name of Creditor: Wells Fargo Bank, N.A.
 Last 4 digits of any number you use to identify
 the debtor's account:      8103                                                    Court claim no. (if known): 2
 Uniform Claim Identifier: WFCHEQ1414846FLS44560161

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
                No
                Yes. Date of the last notice

Part 1:          Itemized Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor¶s mortgage account after the petition was filed. Do not include any escrow account
disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount, indicate that
approval in parentheses after the date the amount was incurred.

            Description                                                           Dates Incurred                                        Amount

    1. Late charges                                                                                                             (1) $            0.00
    2. Non-sufficient funds (NSF) fees                                                                                          (2) $            0.00
    3. Attorney fees                                                                                                            (3) $            0.00
    4. Filing fees and court costs                                                                                              (4) $            0.00
    5. Bankruptcy/Proof of claim fees                                                                                           (5) $            0.00
    6. Appraisal/Broker's price opinion fees                                                                                    (6) $            0.00
    7. Property inspection fees                                                                                                 (7) $            0.00
    8. Tax advances (non-escrow)                                                                                                (8) $            0.00
    9. Insurance advances (non-escrow)                                                                                          (9) $            0.00
    10. Property preservation expenses. Specify:                                                                               (10) $            0.00
    11. Other. Specify:      HAZ INS PREMIUM                                       4/16/2019                                   (11) $       6,780.00
    12. Other. Specify:                                                                                                        (12) $            0.00
    13. Other. Specify:                                                                                                        (13) $            0.00
    14. Other. Specify:                                                                                                        (14) $            0.00
The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. § 1322(b)(5) and
Bankruptcy Rule 3002.1.

The CM/ECF system imposes certain constraints, including limits on the number of characters that may be entered into certain fields, when filing a
proof of claim. As a result of these constraints and limitations, the creditor name that appears on the bankruptcy court¶s claims register (and any
supplemental proof of claim) may differ from the creditor name that appears on the actual proof of claim form.




 Official Form 410S2                               Notice of PostPetition Mortgage Fees, Expenses, and Charges                             page 1
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Debtor 1 Juana Marquez             Case 14-14846-RAM                 Doc     FiledCase
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                                                                                       number (if known)
                                                                                                           3
            First Name               Middle Name              Last Name


Part 2:      Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.
  Check the appropriate box:
     I am the creditor.
      I am the creditor's authorized agent.   (Attach a copy of power of attorney, if any.)

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
  and reasonable belief.
          /s/ Melissa Ann Anderson                                           Date 04/23/2019
          Signature




  Print: Melissa Ann Anderson                                                Title   VP Loan Documentation
          First Name            Middle Name              Last Name

   Specific Contact Information:                                              Wells Fargo Bank, N.A.
   P: 800-274-7025                                                            MAC N9286-01Y
   E: 180DayInquiries@wellsfargo.com                                          1000 Blue Gentian Road
                                                                              Eagan, MN 55121-7700




 Official Form 410S2                          Notice of PostPetition Mortgage Fees, Expenses, and Charges                                    page 2
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                                   Case 14-14846-RAM               Doc       Filed 04/23/19         Page 3 of 3
                            UNITED STATES BANKRUPTCY COURT
                                                      Southern District of Florida (Miami)
                                                                           Chapter 13 No. 14-14846
 In re:                                                                    Judge: Robert A Mark
 Juana Marquez
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that on or before April 23, 2019, I served a copy of this Notice and all attachments upon each of the entities named below by the
 court's notice of electronic filing or by placing a copy thereof in an envelope, in the United States Mail with first class mail postage prepaid,
 addressed to each of them as follows:

 Debtor:                    By U.S. Postal Service First Class Mail Postage Prepaid:
                            Juana Marquez
                            3139 SW 25th St
                            Miami, FL 33133



 Debtor's Attorney:         By U.S. Postal Service First Class Mail Postage Prepaid:
                            Paul N Contessa, Esq
                            15321 S Dixie Hwy ;207
                            Miami, FL 33157



 Trustee:                   By U.S. Postal Service First Class Mail Postage Prepaid:
                            Nancy K. Neidich
                            www.ch13miami.com
                            POB 279806
                            Miramar, FL 33027



                                                                           /s/ John Shelley
                                                                           InfoEx, LLC
                                                                           (as authorized agent for Wells Fargo Bank, N.A.)




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